Case 3:12-cv-03022-TLB Document 159-1 Filed 05/20/14 Page 1 of 22 PagelD #: 759

IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS

HARRISON DIVISION
DAVID STEBBINS PLAINTIFF
VS. NO. 12-CV-3022
BOONE COUNTY ARKANSAS, ET AL. DEFENDANTS

COUNTY DEFENDANTS’ EXHIBIT LIST

PRESIDING JUDGE PLAINTIFF'S ATTORNEY DEFENDANT'S ATTORNEY
Hon. James Marschewski Pro se Mr. Geoff Thompson
TRIAL DATE(S) COURT REPORTER COURTROOM DEPUTY

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No. |NO. | OFFERED

Video of fight

Audio of Plaintiff speaking with Jason Day

11/25/11 - Inmate Placement History

Notice to Jailers - House Plaintiff alone, provide him
with newspaper, allow phone calls from intake and
correspondence from Plaintiff to Mr. Day and Nurse
regarding ADA accommodations

Grievances (03/07/12 - 03/12/12) (to discuss MSJ
possibility, stolen soap, punishment, right to phone)
03/08/12 Letter from Plaintiff to Bob King - request
for discovery regarding disorderly conduct trial)
03/06/12 Statement Form - Buel Greer; 03/06/12
report by Jason Day, Grievance regarding Officer
Silva, Letter to Nurse by Plaintiff regarding ADA and
for runaway metabolism

03/01/12 Grievance - stolen commissary and letter
02/29/12 Grievance - enemy in C Pod; 02/23/12
request to be moved

03/01/12 Grievance - harassment by Mr. Kidd, letter
to Mr. Day re: complaints

02/29/12 Ltr from Plaintiff re: mail

Letter from Plaintiff to Day re: Mendez

02/14/12 Grievance - phone has static

02/13/12 Grievance - response to his previous letters,
report by Jason Day, letters from Plaintiff,

02/06/12 Grievance - harassment by Edgmon,
Grievance re: threat by Edgmon

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01/12/12 Grievance - toothache, memo regarding
Plaintiffs’ broken glasses, Statement Form by John
Edgmon, Report by Cpl. Ferguson, letter from
Plaintiff, report by Silva, report by Jason Day
01/03/12 - Grievance - Barrows and Kidd stole
Plaintiff's breakfast tray, report by Neckles re: meal
trays

01/02/12 - Grievance - lockdown; letter by Plaintiff
to Sheriff Hickman

12/29/11 - Grievance - purchase of mustard
12/27/11 - Grievance - mail to federal court
12/23/11 - Grievance - mattress

12/24/11 - Report by Cpl. Kendra Coombs re:
lockdown of Plaintiff

12/28/11 - Grievance lock down; letter from Plaintiff
regarding rules

12/20/11 - Report by Officer Engles re: Detainee
Lawrence Brown’s claim that Plaintiff was watching
him sleep; Report by Cpl. Ferguson and Officer
Broland

12/19/11 - Statement Form by Plaintiff - harassed by
other inmates; Narrative by Bob King

12/16/11 - Report by Officer Avey, Report by Officer
Jones, Statement by Joshua Chunn, Statement by
Kristopher Whatley, Statemetn by Michael Newman
12/14/11 - Grievance re: appeal Jason Jones’
response to grievance and harassment

12/14/11 - Grievance re: Jones deprived him of
breakfast, Statement by Dale Kirby, Statement Form
by John Edgmon, Statement Form by Joshua Chunn,
Statement Form by Kristopher G.

12/13/11 - Grievance - use of phone

12/12/11 - Grievance - lockdown

11/30/11 - Grievance - access to attorney

11/30/11 - Grievance - harassment by Jason Jones
11/26/11 - Grievance - cellmates threatening him
Grievance Procedure

Sentencing Order

Any and al] document produced or provided by any
party during the discovery process;

Any and all documents contained in Plaintiff's Jail
file;

Any and all documents provided by Separate
Defendants during the discovery process;

Any and all documents provided by Plaintiff during
the discovery process:

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Any and all of Plaintiffs medical records provided or
produced during discovery;

Any and all documents named in any parties’ Initial
Disclosures;

Any and all documents named in Plaintiffs
Responses to Requests for Production of Documents;

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Irimate Placement History Page: 1/1

Inmate Placement History
Stebbins, David Anthony (64613) .

Booking Number Book In Date / Time Released Book Out Date / Time

1 11/25/2011 06:42 PM Yes 03/14/2012 09:13 AM
Placements
Placement Date / Time Location Active Noles
11/25/2011 6:41:53 PM B-Pod Top/Cell BO6 No
11/25/2011.6:52:12 PM Holding Cell 3 No
11/26/2011 6:51:08 PM C-Pod Top/Cell C06 No
11/27/2011 11:37:17 AM Holding Cell 3 No
11/30/2011 9:03:28 PM B-Pod Bottom/Cell Bo4 No
12/15/2011 7:33:57 PM B-Pod Top/Cell B08 No
1216/2011 7:46:37 AM G-Pod , No
2/29/2012 7:11:54 PM C-Pod Bottom/Cel!l Co4 No
3/6/2012 1:27:38 PM B-Pod Bottom/Cell B01 No
3/6/2012 1:39:05 PM B-Pod Bottom/Cell B01 No

Booking Number Book In Date / Time Released Book Out Date / Time

2 07/27/2012 10:27 PM Yes 09/17/2012 10:57 AM
Placements
Placement Date / Time Location Active Notes
7/27/2012 8:33:21 PM C-Pod Top/Cell C10 No
8/24/2012 12:46:34 PM G-Pod No

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Inmate Placement History Page: 1/1
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12-cv-03022-TLB Document 159-1 Filed 05/20/14 Page 5 of 22 PagelD #: 763

ATTENTION!
ALL JAILERS

IT 1S VERY IMPORTANT THAT
David Stebbins (B-1)

Be kept separated from all other Detainees at ALL
times and that...

4. He get the Harrison Daily newspaper the very first.
thing each day.

2. Only jailers and 309’s deal with him.

d to make phone calls from intake
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3. That he be allowe
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to live so he can leave .

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Case 3:12-cv-03022-TLB Document 159-1 Filed 05/20/14 Page 6 of 22 PagelD #:.764

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area that was notsafe to him and thus violated ajcourt order to be housed where he
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Boone County Detenti

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Boone County Detention Center
Inmate Grievance Form

Inmate Name: avid > C Lb L/ is Pod C*

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Xx Jason Day (Jail Administrator)

x Other (Identify Other Person)

State Your Grievance (AS Briefly As Possible): .

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Signature of Inmate Writing Grievances ee

Grievance Received By Officer:

Response: .
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If you would like to appeal the response; you may do so by filling out

another Grievance and it will be decided by the Sgt. Or Cpl. that shift
and/or Jason Day (Jail Administrator). .

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Boone County Detention Center
Inmate Grievance Form

Inmate Name: avid > C Lb L/ is Pod C*

Date:
Directed To:
acpeunerd Medical
secyueei Booking
Xx Jason Day (Jail Administrator)

x Other (Identify Other Person)

State Your Grievance (AS Briefly As Possible): .

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Signature of Inmate Writing Grievances ee

Grievance Received By Officer:

Response: .
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If you would like to appeal the response; you may do so by filling out

another Grievance and it will be decided by the Sgt. Or Cpl. that shift
and/or Jason Day (Jail Administrator). .

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Boone County Detention Center

Inmate Grievance Form
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Inmate Name:_L2A U [ d 5 te bb iAS wea Si
Date: 274-(e
Directed To:
___ Medical
___ Booking

Jason Day (Jail Administrator)

Other (Identify Other Person)

State Your Grievance (As Briefly As Possible):
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Signature of Inmate Writing Grievance:

Date:

Grievance Received By Officer:

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Date: 23 “lL my 9

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If you would |
another Grievance and it will be decided by the Sgt. Or Cpl. that shift

and/or Jason Day (Jail Administrator).

Signature of ‘Responding Offic

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Boone Counly Detention Center
Inmate Grievance Form

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Inmate Name:

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Date: > eee
Directed To:

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\__ Jason Day (Jail Administrator)

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Signature of Inma

Grievance Received By Officer:

Response:

Signature of Responding Officer: Date:_2 | | i2

Ifyou would like to appeal the response; you may do so by filling out
another Grievance and it will be decided by the Sgt. Or Cpl. that shift

A and/or Jason Day (Jail Administrator).

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Boone County Detention Center
Inmate Grievance Form

Inmate Name: David Steh b iS: pod 6%
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- Medical

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| “X_ Jason Day (Jail Administrator)

Other (Identify Other Person)
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Signature of Responding Officer:

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